819 F.2d 290
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Vernard L. MOUNCE, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 87-5282.
    United States Court of Appeals, Sixth Circuit.
    May 27, 1987.
    
      Before KEITH and NORRIS, Circuit Judges, and PECK, Senior Circuit Judge.
    
    ORDER
    
      1
      The plaintiff appeals an order affirming the denial of his claim for Social Security disability insurance benefits.  The defendant now moves to remand this matter on grounds that readjudication is necessary under newly promulgated Mental Impairment Listings.  The plaintiff has not filed a response.
    
    
      2
      On November 30, 1984, the Appeals Council affirmed the Administrative Law Judge's finding that the plaintiff was not sufficiently impaired to qualify for benefits.  Subsequently, the Secretary of Health and Human Services promul-crated new guidelines for evaluating mental impairment.
    
    
      3
      The Social Security Disability Benefits Reform Act of 1984, Pub. L. No. 98-460, Section 5(c)(1), 98 Stat. 1794, 1801 provides that the Secretary shall readjudicate those cases involving a mental impairment in which a final decision, unfavorable to the claimant, was rendered between October 9, 1984 and August 28, 1985.  The language of Section 5(c)(1) is mandatory.
    
    
      4
      Because the plaintiff's claim was rejected within the designated period, it is ORDERED that the motion to remand is granted.  The district court's judgment, is vacated and this action is remanded to the district court with instructions to remand to the Secretary of Health and Human Services for reconsideration in light of the new Mental Impairment Listings.
    
    